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                                                        CIVIL TRIAL

CASE NO.       CIV-14-665       -F CIVIL                                                      DATE        3-4-2022
STYLE          Richard Glossip, et al.             v.           Randy Chandler, et al.


PROCEEDINGS:           FURTHER BENCH TRIAL
COMMENCED            9:00                ENDED     12:00
                                                                      TOTAL TIME:        6   Hrs.    40     Mins.
COMMENCED            1:15                ENDED         4:55
JUDGE Stephen P. Friot                     DEPUTY CLERK Lori Gray                     REPORTER Tracy Thompson
PLF COUNSEL          James Stronski, Kenton Walker, Michael Robles, Adam Singer, Alex Kursman, Lynne Leonard,
                     Emma Rolls, Jen Moreno, Kim Stout, Dale Baich
DFT COUNSEL           Mithun Mansinghani, Bryan Cleveland, Andy Ferguson, Audrey Weaver

ENTER:

Dfts continue case in chief with testimony of witnesses.
Plfs' exhibits admitted: 181, 132, 396, 225, 424, 131, 126, 470, 449, 494.
Dfts' exhibits admitted: 6, 151, 3, 38, 57, 103, 60, 20, 19, 34, 7, 8, 9, 21, 119, 49, 37.
Parties provide deposition designations for Dr. Block.
The court advises the parties that it will likely allot 30 minutes per side for closing arguments.
The court discusses post-trial filings with counsel.
Plaintiffs’ counsel advises that the Donald Grant autopsy report was produced today. Plaintiffs request that the court
keep the record open until receipt of the Gilbert Postelle autopsy report. At this point, the court is unreceptive to
keeping the record open.

Court adjourns to 3-5-2022 at 9:00 AM.
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CASE NO. CIV-14-665    -F   DEPUTY Lori Gray   JUDGE Stephen P. Friot      DATE       3-4-2022



      WITNESSES FOR PLAINTIFFS                       WITNESSES FOR DEFENDANTS


1.                                             1. Joseph Antognini, M.D., cont’d. (sworn)

2.                                             2. Daniel Buffington, PharmD (sworn)
